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                            UNITED STATES DISTRICT COURT
                               DISTRICT OF MINNESOTA
                             Crim. File No. 20-49 (NEB/KMM)

UNITED STATES OF AMERICA,                    )
                                             )
                        Plaintiff,           )
                                             )       ORDER FOR DETENTION
         v.                                  )
                                             )
GARY ROBERT DRAKE,                           )
                                             )
                        Defendant.           )

         This matter was before the Court on March 6, 2020, for an initial appearance. The

defendant was present and was represented at the hearing by Assistant Federal Defender

Lisa Lopez. The government was represented by Assistant United States Attorney Robert

Lewis.

         The government moved for detention. The defendant, having been fully advised of

his rights, knowingly and voluntarily waived his right to a detention hearing but reserved

his right to move the Court to reopen the issue of detention at a later time.

         Based upon the foregoing and all the files and proceedings herein, the Court finds

that there is no condition or combination of conditions that will ensure the defendant’s

presence at future proceedings and the safety of the community. Accordingly, it is hereby

ordered that –

         1.      The motion of the United States for detention pending trial is granted;

         2.      The defendant is committed to the custody of the United States

                 Marshal for confinement in a correctional facility suitable for persons

                 awaiting trial;
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      3.      Defendant shall be afforded reasonable opportunity to consult

              privately with his lawyer;

      4.      Upon order of the Court or request by the United States Attorney, the

              person in charge of the correctional facility in which the defendant is

              confined shall deliver him to the United States Marshal for the

              purpose of appearance in connection with a court proceeding; and

      5.      The defendant has not waived his right to move the Court to reopen

              the issue of detention.


Dated: March 9, 2020
                                                 s/Hildy Bowbeer
                                                 HILDY BOWBEER
                                                 United States Magistrate Judge




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